Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 1 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 2 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 3 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 4 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 5 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 6 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 7 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 8 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 9 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 10 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 11 of 12
Case 2:12-cv-03905-TON Document 1 Filed 07/11/12 Page 12 of 12
